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 UNITED STATES DISTRICT COURT
 SOUTHERN DISTRICT OF NEW YORK
                                        x
                                        :
 TOUCHSTONE STRATEGIC TRUST,
                                        :
 TOUCHSTONE VARIABLE SERIES TRUST,                             Case No. 1:19-cv-01876-JMF
                                        :
 THE WESTERN AND SOUTHERN LIFE
                                        :
 INSURANCE COMPANY, WESTERN-SOUTHERN                           NOTICE OF APPEAL
                                        :
 LIFE ASSURANCE COMPANY, WESTERN &
                                        :
 SOUTHERN FINANCIAL GROUP, INC., and
                                        :
 INTEGRITY LIFE INSURANCE COMPANY,
                                        :
                                        :
                         Plaintiffs,
                                        :
                                        :
         -against-
                                        :
                                        :
 GENERAL ELECTRIC COMPANY, JEFFREY R.
                                        :
 IMMELT, JEFFREY S. BORNSTEIN, JAMIE S.
                                        :
 MILLER, and KEITH S. SHERIN,
                                        :
                          Defendants.   :
                                        x




       Notice is hereby given that Touchstone Strategic Trust, Touchstone Variable Series

Trust, The Western and Southern Life Insurance Company, Western-Southern Life Assurance

Company, Western & Southern Financial Group, Inc., and Integrity Life Insurance Company,

plaintiffs in the above-named case, hereby appeal to the United States Court of Appeals for the

Second Circuit from the Opinion and Order entered September 28, 2022 (ECF 48) granting

defendants’ motion to dismiss and the final Judgment entered on September 30, 2022 (ECF 49).
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Dated: New York, New York
October 27, 2022
                                         Respectfully submitted,

                                         /s/ Steven S. Fitzgerald

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